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8                          UNITED STATES DISTRICT COURT
9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                               SOUTHERN DIVISION
11   UNITED STATES OF AMERICA, ) Case No. 8:19-CV-01934-JLS(ADSx)
                               ) Related Case No. 8:19-cr-00121-JLS
12           Plaintiff,        )
                               ) CONSENT JUDGMENT OF FORFEITURE
13              v.             )
                               )
14   $1,000,000.00 IN U.S.     )
     CURRENCY, REPRESENTING    )
15   THE PROCEEDS OF A         )
     CASHIER’S CHECK,          )
16                             )
              Defendant.       )
17                             )
18
19         Pursuant to the stipulation and request of Plaintiff United
20   States of America and Faustino Bernadett (“Bernadett”), the
21   Court hereby enters this Consent Judgment of Forfeiture
22   containing the terms set forth below:
23         Plaintiff United States of America (“the United States of
24   America”) has filed a Complaint for Forfeiture alleging that the
25   defendant $1,000,000.00 in U.S. Currency, Representing The
26   Proceeds Of A Cashier’s Check (the “defendant currency”) is
27   subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).
28         Bernadett has not filed a claim to the defendant currency,
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1    but would have done so but for the United States of America and
2    Bernadett’s settlement of this matter.
3           No other parties have filed a claim to the defendant
4    currency or an answer to the Complaint for Forfeiture and the
5    time for filing claims and answers has expired.
6           The government and Bernadett have now agreed to settle this
7    action and to avoid further litigation by entering into this
8    Consent Judgment of Forfeiture without admitting or denying the
9    allegations of the Complaint for Forfeiture.
10          The Court, having been duly advised of and having
11   considered the matter, and based upon the mutual consent of the
12   parties hereto,
13          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
14          1.   This Court has jurisdiction over the subject matter of
15   this action and the parties to this Consent Judgment of
16   Forfeiture.
17          2.   The Complaint for Forfeiture states a claim for relief
18   pursuant to 18 U.S.C. § 981(a)(1)(C).
19          3.   Notice of this action has been given as required by
20   law.    No appearances have been made in the litigation by any
21   person other than Bernadett.        The Court deems that all other
22   potential claimants admit the allegations of the Complaint for
23   Forfeiture to be true.       Bernadett is relieved of the obligation
24   of filing a claim to the defendant currency.
25          4.   The United States of America shall have judgment as to
26   the interests of Bernadett and all other potential claimants to
27   the defendant currency, which funds are hereby condemned and
28   forfeited to the United States of America.          The United States of

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1    America shall dispose of those funds in accordance with law.
2          5.    Bernadett hereby releases the United States of
3    America, its agencies, agents, officers, employees and
4    representatives, including, without limitation, all agents,
5    officers, employees and representatives of the United States
6    Postal Service and their respective agencies, as well as all
7    agents, officers, employees and representatives of any state or
8    local governmental or law enforcement agency involved in the
9    investigation or prosecution of this matter, from any and all
10   claims (including, without limitation any petitions for
11   remission, which Bernadett hereby withdraws), actions or
12   liabilities arising out of or related to this action, including,
13   without limitation, any claim for attorney fees, costs and
14   interest, which may be asserted by or on behalf of Bernadett,
15   whether pursuant to statute or otherwise.
16         6.    The Court finds that there was reasonable cause for
17   the seizure of the defendant currency and institution of these
18   proceedings.
19         7.    The parties hereto shall bear their own attorney fees
20   and costs.
21         8.    The United States of America and Bernadett consent to
22   this judgment and waive any right to appeal.
23         Dated:    January 28, 2020
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25                                                                             _
                                         THE HONORABLE JOSEPHINE L. STATON
26                                       UNITED STATES DISTRICT JUDGE
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